 Case 3:21-cv-12973-FLW-TJB Document 1 Filed 06/25/21 Page 1 of 5 PageID: 1


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(improperly pled as Wal-Mart Stores, Inc. and Walmart)

                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY


 CHRISTOPHER SANTARSIERO,                                  Civil Action No.:

                        Plaintiff,
                                                                     NOTICE OF REMOVAL
 vs.

 WAL-MART STORES, INC., WALMART, JOHN
 DOES 1-10 (Fictitious Names), ABC, INC., 1-10
 (Fictitious Entities),

                        Defendants.

       Defendant, Wal-Mart Stores East, LP (improperly pled as Wal-Mart Stores, Inc. and

Walmart) (hereinafter referred to as “Defendant”)), by and through its undersigned counsel, for the

purpose of removing this cause pursuant to 28 U.S.C. § 1441, respectfully submits this Notice of

Removal pursuant to 28 U.S.C. § 1446. Defendant appears solely for the purpose of removal and for

no other purpose, reserving all other defenses available to it. By way of providing the Court with the

basis for Defendant’s request for removal, Defendant respectfully submits the following short and

plain statement of the grounds for removal, together with a copy of all process, pleadings, and orders

served upon Defendant in such action:

       1.      State Court Action. Plaintiff, Christopher Santarsiero (“Plaintiff”), filed the above-

captioned action against Defendant in the Superior Court of New Jersey, Law Division, Monmouth
 Case 3:21-cv-12973-FLW-TJB Document 1 Filed 06/25/21 Page 2 of 5 PageID: 2


County, New Jersey, on or about May 27, 2021, in a matter pending as docket number MON-L-

001717-21. Copies of all process, pleadings, and orders received by Defendant are attached hereto

as Exhibit A in accordance with 28 U.S.C. § 1446(a).

        2.      Allegations in the Complaint. In the Complaint, Plaintiffs assert claims against

Defendant for negligence alleging that Plaintiff was injured at a Walmart store in Howell, New

Jersey, and he suffered severe and permanent injuries. The Complaint does not allege the amount

of damages being claimed. See Exhibit A.

        3.      Defendants. Other than fictitious defendants, Plaintiff has named no defendants

other than Wal-Mart Stores East, LP (improperly pled as Wal-Mart Stores, Inc. and Walmart).

        4.      Federal Court Subject Matter Jurisdiction. 28 U.S.C. § 1441(a) provides the basis

for removal jurisdiction to this Court as this is a state court action over which this Court has original

jurisdiction under 28 U.S.C. § 1332 (diversity of citizenship). 28 U.S.C. § 1332 confers subject

matter jurisdiction over cases in which there is complete diversity between Plaintiff and Defendant,

and in which the amount in controversy equals or exceeds $75,000.00.

        Defendant, Wal-Mart Stores East, LP, is a limited partnership organized and existing under

the laws of Delaware, of which WSE Management, LLC, a Delaware limited liability company, is

the general partner, and WSE Investment, LLC, a Delaware limited liability company, is the

limited partner. The sole member of WSE Management, LLC and WSE Investment, LLC is Wal-

Mart Stores East, LLC, an Arkansas limited liability holding company with its principal place of

business located in Arkansas. Walmart Inc. is the sole member of Wal-Mart Stores East, LLC.

Walmart Inc. is a corporation organized and existing under the laws of Delaware with its principal

place of business in Arkansas. The Complaint asserts that Plaintiff is a citizen of New Jersey.

        Furthermore, this Court has diversity jurisdiction because the amount in controversy

exceeds $75,000. The Complaint alleges that as a direct and proximate result of the negligence of


                                                   2
 Case 3:21-cv-12973-FLW-TJB Document 1 Filed 06/25/21 Page 3 of 5 PageID: 3


the Defendant, “the plaintiff was caused to sustain severe and permanent personal injuries, both

internal and external; suffered great pain and will in the future continue to suffer great pain; was

compelled to and will in the future be compelled to incur medical expenses and to expend large

sums of money for payment of said medical expenses; has lost time from his occupation; was

prevented from and will in the future be prevented from performing and/or engaging in his

everyday activities and lifestyles; and sustained such other damages.” (Ex. A, Complaint, Count

1 at ¶ 6 .) On June 2, 2021, Defendant’s counsel sent Plaintiff’s counsel correspondence requesting

that Plaintiff stipulate that Plaintiff’s damages are less than $75,000. (Attached hereto as Exhibit

B is a true and correct copy of the June 2, 2021 letter and its enclosure.) To date, Plaintiff has not

returned the stipulation.

       While Defendant denies all liability to Plaintiff and denies that he is entitled to any of the

relief sought in the Complaint, based upon the allegations of the Complaint, the injuries alleged,

and that the Stipulation of Damages has not been returned to Defendant’s counsel, and upon

information and belief, the amount in controversy exceeds the $75,000 jurisdictional amount under

28 U.S.C. § 1332.

       Accordingly, for the reasons set forth above, Defendant respectfully submits that this Court

has jurisdiction over this matter pursuant to 28 U.S.C. § 1332, as the properly joined parties are of

diverse citizenship and Plaintiff’s claims meet the jurisdictional limit of $75,000.

       5.      Timely Filing. The Summons and Complaint was served upon Defendant on May

27, 2021. The case as stated in the Complaint does not provide enough information to determine

whether the action is removable. However, this Notice of Removal is timely pursuant to 28 U.S.C.

§ 1446(b)(3) insomuch as it is filed within thirty (30) days of the date by which Defendant

determined that Plaintiff would not stipulate that damages are less than $75,000 and Defendant

ascertained that the case is one that is removable, as well as its receipt of the Complaint.


                                                  3
 Case 3:21-cv-12973-FLW-TJB Document 1 Filed 06/25/21 Page 4 of 5 PageID: 4


       6.      State Court Documents Attached. Copies of all process, pleadings and orders

received by Defendant are annexed hereto as Exhibit A in accordance with 28 U.S.C. § 1446(a).

       7.      Proper Venue. Venue for removal is proper in this district because this is the district

embracing the Superior Court of New Jersey, Law Division, Monmouth County, New Jersey, the

forum in which the removed action was pending.

       8.      Notice to Plaintiffs and State Court. Promptly upon filing this Notice of Removal

with this Court, Defendant, through its undersigned counsel, will give written notice hereof to

Plaintiff, per his counsel, and will file a copy of this Notice of Removal with the Clerk of the

Superior Court of New Jersey, Law Division, Monmouth County, New Jersey.

       9.      Relief Requested. Defendant respectfully gives notice that this action is to be

removed from the Superior Court of New Jersey, Law Division, Monmouth County, New Jersey,

to the United States District Court for the District of New Jersey.

       WHEREFORE, Defendant, Wal-Mart Stores East, LP, hereby removes this action,

currently pending as Docket Number MON-L-001717-21 in the Superior Court of New Jersey,

Law Division, Monmouth County, New Jersey.


Dated: June 25, 2021                              /s/ Nada M. Peters
                                                  Nada M. Peters, Esq.
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                                                  and Walmart)




                                                 4
 Case 3:21-cv-12973-FLW-TJB Document 1 Filed 06/25/21 Page 5 of 5 PageID: 5



                        LOCAL CIVIL RULE 11.2 VERIFICATION

       Other than the action filed in the Superior Court of New Jersey, Law Division, Monmouth

County, which is the subject of this Notice of Removal, the matter in controversy, to the best of

the Attorneys for Defendant, Wal-Mart Stores East, LP’s, knowledge, information and belief, is

not the subject of any other action pending in any court, or of any other pending arbitration or

administrative proceeding.



Dated: June 25, 2021                               /s/ Nada M. Peters
                                                   Nada M. Peters, Esq.




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